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                                                                                       Sep 24, 2014
                            UN ITED STA TES D ISTRICT CO U RT
                            SOU THERN D ISTRICT O F FLO RID A
                    14-60235-CR-BLOOM/VALLE
                             CA SE N O .
                                         18U.S.C.j666(a)(2)
                                         18U.S.C.j2

 UNITED STATES OF AM ERICA



 W ILLIAM PlN O,

                       D efendant.



                                       INFORM ATION

        TheU nited StatesA ttorney chargesthat:

                                 GENERAL ALLEGATIONS

        Ata11tim esrelevantto thislnformation:

                                           Background

                TheBroward County Governmentwasheaded by aCotmty Com mission,which

  consistedofaM ayor,aVice-M ayorandseven (7)additionalCountyCommissioners
  representingthenine(9)districtswithinBrowardCounty.TheCommissionappointedaCounty
  Adm inistratorthatoversaw theoperationsofBroward Countythrough variousdepartments,

  includingtheDepartmentofPublicW orks(hereinafterreferredtoasthetéDPW '').TheDPW
  oversaw the construction and m aintenance ofthe roadw ays and the seaports,the acquisition and

  managem entofproperty,and thewatermanagem entand wasterecycling system sin Broward

  County,am ong otherfunctions.OneofthedivisionsoftheDPW wastheBroward County

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 Traftk EngineeringDivision(hereinaherreferredtoastheCIBCTED'').The BCTED was
 responsibleforconstnzding,repairing,and maintaining thetraftk system sand signson the

 roadwaysin Broward County.Duringcalendaryear2012,Broward County received benetksin

 excessof$10,000 undera federalprogram involving grants,subsidies,loans,guarantees,

 insurance,and/orotherfederalassistance.
               DefendantPIN O had an ownership interestand/orassisted in theoperation ofa

 num berofcompaniesin South Floridathatwerein thebusinessofinstalling,repairing,and

 maintainingstreetlights,trafficsignals,and traffi.
                                                  c system sand the saleofproductsneeded to

 m akesuch installationsand repairs,such aslightpoles.

         3.     Anindividual(hereinafterreferredto asSûtheLightingContractor'')wasalsointhe
 businessofinstalling,repairing,and maintaining streetlights,traffic signals,andtrafficsystem s.

 Priorto 2012,theLighting Contractorhad partnered with PINO on numerousgovernm ent

  projectsinvolving streetlightsand trafficsignals. Inthepast,PINO expressedtotheLighting
  Contractorthathe w ould like to obtain contracts to sellhisproductsto the county govelmm entin

  Broward Cotmty.

                AnindividualwhowasanagentoftheBCTED (hereinafterreferredtoasthe
  StBCTED PublicOfficial'')wasinvolved intheawardingofcontractsrelatedtothemaintenance,
  repair,and constnzction oftrafficsystems,lighting and signson theroadwaysin Broward County

  andwasoneoftheofficialsinvolvedintheselection ofcontractorstowork onprojectsforthe

  BCTED .
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                                      The Bribe Paym ent

               On oraboutApril4,2012,theLighting Contractoradvised PINO thattherewere

 upcomingpublicworksprojectsinBrowardCountyfortrafficsystems,trafficsigns,streetlights
 and lightpoles.TheLighting Contractorfurtheradvised PIN O thathehad a contactin Broward

 CotmtywhocouldgetthelightpolessoldbyPlNO'scompanywrittenintotheupcomingproject.
 TheLighting Contractortold PINO thatin orderforPINO to getsuch acontract,PIN O would

 need to tttakecareof'thepublicofficial. PINO agreedto çûtakecareof'thepublic official.

        6.     On oraboutApril18,2012,theLighting Contractortold PINO thatBroward

 County waslooking to replace 1400 orm ore lightpolesoverthenextfiveyears,and thatthe

 BCTED PublicOffcialcould iûspec''into thecontractthelightpolesfrom P1NO'scompany.

 TheLighting Contractortold PINO that,in thepast,he hasdonefavorsforthispublicofticial.

  TheLighting Contractorthen asked PINO dthow doyou wantto handleit?'' PINO advised that

  theeasiestway to pay theBCTED PublicOfficialwasto Eshandleany transaction overseas.''

                  On oraboutM ay 2,2012,theLighting Contractortold PIN O thatthepublic

  officiallikedtheideaofstartingoutwith ajobforfifteen-twenty(15-20)lightpoles.PINO said
  thathewaswillingto pay the publicofficial$250 apole.PIN O suggested thata corporation

  could besetup in Costalticaand thecop oration wouldthen open up abank accotmtand give

  theBCTED Public Officiala debitcard towithdraw thebribem oney.PIN O said the schem ewas

  nottraceable.

         8.       On oraboutM ay 24,2012,the Lighting Contractortold PIN O thatthepublic

  ofticialcould arrangetohaveaptzrchaseorderm itten for$100,000 in lightpolesforPm o's




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 company. PINO agreedtopaythepublicofticialbeforehe(PlNO)waspaid,ifthepublic
 officialfrstgavehim the ptlrchaseorder.

               On oraboutJune5,2012,PINO toldtheLightingContractorthathew ould give

 thepublicofficialfivethousanddollars($5,000)ofU.S.currencyinexchangeforapurchase
 orderissuedto PlNO 'scompany for$100,000oflightpoles.
        10.   On oraboutJune26,2012,PIN O and the Lighting Contractorarranged to m eet

 the nextdaywiththeBCTED PublicOfficialatarestaurantin Plantation,Florida.PINO advised

 theLighting Contractorthat,priorto themeeting,hewould meettheLighting Contractorin the

 restaurantparking 1otand givethe Lighting Contractorthe$5,000 bribe paymentfortheBCTED

 PublicOfficial.
        11.    On oraboutJune 27,2012,PINO mettheLighting Contractorin therestaurant

 parking lot,and PINO gavetheLighting Contractora largem anilla envelopethatcontained a

 brown letter-sized envelopeand abrochureforoneofPlN O'sproducts. lnsidethebrown letter-

 sized envelopewasabank envelopewith $5,000 in U .S.currency. PIN O and the Lighting

 Contractorthen wentinto therestaurantand m ettheBCTED PublicOftk ial.Aftersom e

 discussion ofengineering detailsandPm o'sproducts,theBCTED Public Officialhanded PINO

 apurchaseorderfrom Broward County forPlNO'scompany to provideto Broward County

 eighteen(18)decorativelightpolesatanapproximatecostof $100,000.PINO reviewedthe
 purchaseorder,and the Lighting ContractoraskedPIN O iftiwe'regood.'' W hen PINO

 responded tdwe're good,''theLighting Contractorslid them anilla envelopecontainingthe$5,000
 in cash acrossthetop ofthetableto theBCTED PublicOfficial.Afterreceiving them oney,the

 partiesagreed thatPIN O could contacttheBCTED Public Officialdirectly and did nothaveto


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 go through theLighting Contractor. PINO andtheBCTED Public Officialthen discussedthe

 potentialforfuturework forPm o'scompaniesin Broward Cotmty.

                                           COUNT 1
                (BriberyinProgramsReceivingFederalFtmds,18U.S.C.j666)
        1.     TheGeneralAllegationsportion ofthislnformation,paragraphs1through 1l

 inclusive,arerealleged and expressly incom orated herein asifsetforth in full.

        2.     From on or aboutA pril4,2012 and continuing tllrough on oraboutJune 27,

 2012,in Broward and M iam i-Dade Countiesin the Southem DistrictofFlorida,thedefendant,

                                        W ILLIA M PlN O ,

 did com zptly give,offer,and agreeto giveathing ofvalue,thatis,$5,000 in U.S.currency,to an
 agentofthe Broward County govermnent,thatis,theBCTED PublicOfficial,intendingto

  influenceand reward the BCTED Public Officialin connection with atransaction and seriesof

  transactionswithBrowardCounty,thatis,thepurchaseofeighteen(18)decorativelightpolesby

  the BCTED ,having avalueofatleast$5,000.
        A11inviolationofTitle18,UnitedStatesCode,Sections666(a)(2)and2.




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                                       FO R FE ITU R E

             Paragraphs 1tllrough 11oftheGeneralAllegationsportion ofthislnform ation are

 re-alleged and incorporated by referenceasthough fully setforth herein forthepurposeof

 alleging forfeitureto the United StatesofAmerica ofcertain property in which the defendanthas

 aninterest,pursuantto theprovisionsofTitle18,UnitedStatesCode,Section981(a)(1)(C),as
 incorporatedbyTitle28,United StatesCode,Section2461(c).
        2.    Upon conviction oftheoffensealleged in Count1oftheInformation,the

 defendant,W ILLIAM PINO ,shallforfeitto theUnited Statesany property,realand personal,

 whichconstitutesorisderivedfrom proceedstraceabletosuchviolation.Thepropertysubjectto
 forfeittlreincludes,butisnotlimited to approximately $5,000.00,in U .S.currency,which
 representsthe amountpaid by thedefendantin theviolation alleged in Count1ofthis

 lnform ation.

             PursuanttoTitle21,United StatesCode,Section853(p),ifany oftheforfeitable
 property,orany portion thereof,asaresultofany actorom ission ofthe defendant:

                       cnnnotbelocated upon the exerciseofdue diligence;

                       hasbeen transferred,orsold to,ordepositedwith athird party;

                       hasbeenplacedbeyondthejurisdiction oftheCourt;

                 (4)   hasbeen substantially diminished in value;or

                       hasbeen com mingled with otherproperty which cannotbesubdivided
                 (5)
                       withoutdifficulty;
  itistheintentoftheUnited Statesto seek theforfeiture ofotherproperty ofthedefendantup to

  thevalue oftheabove-described forfeitableproperty.

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        A11pttrsuanttoTitle l8,UnitedStatesCode,Section981(a)(1)(C),asincomoratedby
 Title28,United StatesCode,Section2461(c),andtheproceduresoutlinedatTitle21,United

 StatesCode,Section 853.


   v.                      zz
                            &
 W IFREDO  FERRER
 UNITED STATES ATTORNEY


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 J F Y .KAPLAN
                 J
 A SSISTA N T UN ITED STATES A TTO RN EY




                                            7
                           UNITED1STATES
  Case 0:14-cr-60235-BB Document          DISTRI
                                    Entered     CT COURT
                                             on FLSD Docket 09/24/2014 Page 8 of 10
                           SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AM ERICA                      CASE NO.

VS.
                                               CERTIFICATE O F TRIA L ATTO RN EY*
W ILLIAM PINO,
                         Defendant.
                                      I        Superseding Case Inform ation:



CourtDivision:(selectone)                      New Defendantts)                           Yes       No
                                               NumberofNew Defendants                           -
       Miam i            Key W est             Totalnum berofcounts
 X     FTL               W PB         FTP
       1do hereby certifythat:
              Ihave carefullyconsidered theallegations ofthe indictment,the num berofdefendants,the num berof
              Probable wi tnesses and the legalcomplexiti
                                                        es ofthe Indictment/lnform ation attached hereto.
                Iam awarethatthe informationsupplied gnthiy qtateTentwillbe relied upon bytheJudgesofthis
                CpurtinsettingtheirqafendarsandschedullngcrlmlnaltrlalsunderthemandateoftheSpeedyTri
                                                                                                   alAct,
                Tl
                 tle 28 U.S.C.Sectlon 3161.
                Interpreter:     (YesqrNo)         N
                ListIanguage and/ordlalect
       4.       Thiscase willtake         f7   daysforthe padi
                                                             esto try.
       5.       Please check appropriate categoryand type ofoffense Ii
                                                                     sted below:
                (Checkonlyone)                                 (Checkonlyone)
                0 to 5 days                        Y                         Petty
                6 to 10 days                                                 M inor
                11to 20 days                                                 M isdem .
                21to 60 days                                                 Felony
                61days and over
       6.     Hasthiscase been previousl
                                       yfiled inthisDistrictCoud? (YesorNo)
       Ifyes:
       Judge:                                       Case No.
       (
       Attachcopyaqlf
       Has a compl
                     dispositiveqrdej
                    ntbeen filed ln thls matter?       (YesorNo)
       lfyeq:
       Maglstrate Case No.
       RelatedMiscqllaneousnumbers:
       Defendantts)lnfederalcustodyasof
       Defendantts)Instatecustodyasof
        Rule 20 from the                               Distri
                                                            ctof -
        Isthisapotentialdeathpenaltycase?(YesorNo)
                Doesthiscaseoriginatefrom amatterpending inthe Nodhern Regionofthe U.S.Attorney'sOffice prior
                to October14,2003?          Yes       X      No

        8.       Doesthiscaseoriginatefrom a matterpending inthe CentralRegionofthe U.S.Attorney'sOffice prior
                 to Septem ber1,2007?         Yes       X      o /' ,------'-'
                                                         $:t
                                                           -    ,-,,---' -
                                                          -k , . /p
                                                           .    ,             -., ,
                                                                                      ,
                                                                                      #
                                                                                      -    .


                                                       JEF   Y :KAPLAN..
                                                       ASSISTANT UNITED STATES ATTORNEY
                                                       FloridaBarNo./coudjG 5500030
 *penal
      tySheetts)attached                                                                                 REV4/8/08
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                           UNITED STATES DISTRICT CO URT
                           SO UT H ER N D IST RIC T O F FLO R IDA

                                       PEN A LTY SHEET

D efendantfsN am e:W ILLIA M PIN O

C ase No:

Count #:1

  Bribery in Program sReceiving FederalFunds

  Title 18.United StatesCode.Section 666(a)(2)

#M ax.Penalty:             10 years'imprisonm ent,$250,000 fine

    *R efers only to possible term of incarceration,does not include possible fines,restitution,
    specialassessm ents,parole term s or forfeituresthatm ay be applicable.
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A0 455(Rev.01/09)WaiverofanIndi
                              ctment

                                U NITED STATES D ISTRICT C OURT
                                                     forthe
                                            SouthernDistrictofFlorida

               United StatesofAmerica                   )
                           V.                           )     CaseNo.
                   W ILLIAM PINO,                       )
                                                        )
                        Defendant                       )
                                         W AIVER OF AN INDICTM ENT

      IunderstandthatIhavebeen accused ofoneormoreoffensespunishableby im prisonm entformorethanone
year.lwasadvised in open courtofmy rightsandthenatureoftheproposed chargesagainstm e.
          Afterreceiving thisadvice,lwaivemy rightto prosecution by indictmentandconsentto prosecution by
information.



 Elate:




                                                                           Signatureofdefendant'
                                                                                               sattorney

                                                                                MIC-YAELQUTKO -
                                                                          Printednameofdefenaant'
                                                                                                sattorney




                                                                             Judge'sprinted nameand title
